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                                                                                       AUSA Shoba Pillay

ff'I"f,'E"',D""'                                                                     AUSA Sean K. Driscoll
                                                                               AUSA Nicholas E. Eichenseer



                                 NORTHERN DISTRICT OF ILLINOIS
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      THOMAS-otsrntcr      .--
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 UNITED STATES OF AMERICA
                                      EASTERN DIVISION
                                                                   19CR                          g5,g
                                                    CASE NUMBER:
                       v.
                                                    UNDER SEAL
 JASON BROWN,
                                                                MAGTSTRATE JUDGE HAzuANI
       also known as "Abdul Ja'Me"

                                     CRIMINAL COMPLAINT

       I, the complainant in this case, state that the following is true to the best of my knowledge
and belief.
       On or about September 6, 2019, in the Northern District of Illinois, Eastern Division, and
elsewhere, the defendant(s) violated:
 Code Section                                    Offense Description
 Title 18, United States Code, Sections          knowingly attempted to provide material support
 23398 and2                                      and resources, namely $500, to a foreign terrorist
                                                 organization, namely the Islamic State of Iraq
                                                 and Syria, knowing that the organrzation was a
                                                 designated foreign terrorist organization, and
                                                 that the organization had engaged in and was
                                                 engaging in terrorist activity and terrorism;



    This criminal complaint is based upon these facts:
     X    Continued on the attached sheet.

                                                      NA                      R, Special Agent
                                                      Federal     reau of Investigation (FBI)

Sworn to before me and signed in my presence.

Date: November 13. 2019


 City and state: Chicaso. Illinois                 SUNIL R. HARJANI. U.S. Maeistrate Judee
                                                              Printed name and Title
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 UNITED STATES DISTRICT COURT

 NORTHERN DISTRICT OF ILLINOIS

                                        AFFIDAVIT

         I, Nathan   S. Scherer, being duly sworn, state as follows:

         1.    I   am a Special Agent with the Federal Bureau of Investigation.     I have
been so employed since approximately 2014. As part of my duties as an FBI Special

Agent,   I investigate criminal violations relating to a variety   of federal statutes, and

have received training      in a variety of areas of criminal investigation,     including

material support of foreign terrorist organrzations. As a result of my training and

experience, and information provided          by other federal agents with      applicable

knowledge, I am familiar with the tactics, methods, and techniques used by terrorist

networks and their members.

         2.    This affidavit is submitted in support of a criminal complaint alleging

that on or about September 6,2019, JASON BROWN, also known as "Abdul Ja'Me,"

knowingly attempted to provide material support and resources, namely $500, to a

foreign terrorist organtzation, namely the Islamic State of Iraq and Syria, knowing

that the organrzation was a designated foreign terrorist organization, and that the

organizatron had engaged in and was engaging in terrorist activity and terrorism, in

violation of Title 18, United States Code, Sections 23398 and 2.

         3.    This affidavit is based or, among other things: (a) my             personal

knowledge of the facts and circumstances of this investigation described below; (b)

information provided by other law enforcement officers, including oral and written
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reports that   I have received from other law enforcement officers;   (c) information

obtained from witnesses, including confidential sources working for the FBI or other

law enforcement agencies; (d) telephone records, including subscriber information,

toll records, pen registers, trap and trace information, and phone location monitoring

information; (e) consensually recorded communications and meetings; (fl the results

of physical surveillance conducted by law enforcement officers; (g) a review of search

warrant results; and (h) my training and experience and the training and experience

of other law enforcement officers involved in this investigation.

      4.       Because   this affidavit is being submitted for the limited purpose of

establishing probable cause    in support of a criminal complaint charging BROWN
with providing material support and resources to a foreign terrorist organization, I

have not included each and every fact known to me concerning this investigation.      I
have set forth only the facts that I believe are necessary to establish probable cause

to believe that the defendant committed the offense alleged in the complaint.

I.    BACKGROUND

      A.       Summary
      5.       As described in more detail below, BROWN attempted to            provide

material support and resources, namely money and personnel, to ISIS, a designated

foreign terrorist organization. Specifically, on three separate occasions    in   2019,

BROWN provided $500 to a confidential source with the intent that the $500 be wired

to an individual BROWN believed was an ISIS soldier engaged in active combat in
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Syria and in need of financial resources, but who was actually an undercover law

enforcement officer.

       B.    Background on ISIS
       6.      On or about October 15, 2004, the United States Secretary of State

designated al-Qa'ida   in Iraq, then known as Jam'at aI Tawhid wa'al-Jihad, as a
Foreign Terrorist Organrzation under Section 219 of the Immigration and Nationality

Act and as a Specially Designated Global Terrorist under section 1(b) of Executive

Order 13224.

       7.    On or about May 15, 2074, the Secretary of State amended the

designation of al-Qa'ida in Iraq as a tr'TO under Section 219 of the Immigration and

Nationality Act and as a Specially Designated Global Terrorist entity under section

1ft) of Executive Order 13224 to addthe alias Islamic State of Iraq andthe Levant

("ISIL") as its primary name. The Secretary also added the following aliases to the

Foreign Terrorist Organrzation iisting: The Islamic State of Iraq and al-Sham ("ISIS,"

which is how the FTO wiII be referenced herein), the Islamic State of Iraq and Syria,

ad-Dawla al-Islamiyya    fi al-Iraq wa-sh-Sham, Daesh, Dawla aI Islamiya,     and AI,

Furquan Establishment for Media Production. On September 27,2075, the Secretary

added the following aliases to the Foreign Terrorist Organization listing: Islamic

State, ISIL, and ISIS. To date, ISIS remains        a   designated Foreign Terrorist

Organrzation. Until his death in October 2019, Abu Bakr al-Baghdadi was the leader

of ISIS.




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       8.    Based on my training and experience, conversations              with   other

experienced agents, and conversations      with FBI linguists fluent in Arabic, I   have

learned the following (1) "Dawla" is an Arabic word that literally means state, but in

this context it is a term used by ISIS sympathizers to refer to the Islamic State"; (2)

"dawah" refers to the proselytizing of Islam; (3) "hijrah" is an Arabic word meaning

"migration," but was commonly used by ISIS to refer to migration to ISlS-controlled

territory for the purpose of joining or supporting ISIS to engage in violent jihad;   (a)

'Jihad" is an Arabic word that literally means striving or struggling, but in the context

of ISIS supporters, is commonly used to refer to a hol5z war, fight, or struggle against

the enemies of Islam; and (5) "kuffar," in the context of ISIS supporters, commonly

refers to any non-believer or non-Muslim, including Americans, Jews, Christians,

Hindus, and other non-Muslims.

      9.     Based on my training and experience,     I know that (a) Sunni extremists

and others, who are not citizens or residents of Syria and Iraq, have traveled to Syria

and Iraq to join ISIS, an act they commonly refer to as "hijrah;" (b) since on or about

September 22,2014, ISIS has advocated for the death of Americans and Europeans,

including civilians, by any means necessary, including beheading, and its leadership

gave blanket approval for this indiscriminate   killing by individuals residing in these

countries; (c) ISIS spreads its message of violent jihad using social media platforms,

such as Twitter, Facebook, YouTube, Instagram, and Paltalk,           in order to   gain

supporters, recruit fighters, and raise funds; (d) using these social media platforms,

ISIS posts audio and video   -   including recruitment messages and updates of events
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in Syria and Iraq - to draw support; and (e) online chat rooms controlled by ISIS
sympathizers effectuate this support.

       C.     Background on the AHK Street Gang
       10.    Based on my experience and familiarity with the investigation,

including information from confidential sources, undercover law enforcement officers,

and other law enforcement officers specializing          in   gang investigations, the AHK

street gang is based     in Bellwood, Illinois, and traffics narcotics throughout           the

Chicago area. AHK is comprised of former members of the Black P-Stone, Gangster

Disciples, and Four Corner Hustlers street gangs, many of whom have converted to

Islam. The term "AHK' appears to be an alternate spelling of the Arabic word "akh,"

which means brother. BROWN is the leader of the AHK street gang in the

Chicagoland area and requires that aII members convert to Islam               if they are not
already Mus1im. According to the Bellwood Police Department, the AHK members

traffic various narcotics in order to fund the workings of the street gang.

       11.    Based on my experience and familiarity with the investigation,

including information from confidential sources, undercover law enforcement officers,

and other law enforcement officers, BROWN was radicalized in prison and from

viewing lectures of Shaikh Abdullah Faisal,l among other ways. Using his position


1 Shaikh Abdullah Faisal (also known as Shaikh Faisal and Trevor William Forrest), was
previously convicted in a British court for soliciting murder related to his encouragement of
Muslims to fight and kill "kuffars." After his conviction and subsequent release from prison,
F aisal continued to encourage violence and terrorist acts in his sermons, including in the pro-
ISIS Paltalk chat room he operated, known as "Authentic Tauheed." On or about August 25,
2017 , a New York state grand jury indictment was unsealed charging Trevor William Forrest,
also known as Shaikh Abdullah Faisal, and Shaikh Faisal, with terrorism-related charges
under New York State law. On or about December 5, 2017, the United States Department of
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 as the leader of the AHK street gang, BROWN actively recruits and radicalizes

 members and others to support ISIS.

II.    FACTS SUPPORTING PROBABLE CAUSE

       A.     BROWN Viewed Faisal's Video Lectures

       12.    According to Georgia state court records,         in or around June 2016,
 BROWN was arrested by state law enforcement               in   Clayton County, Georgia.

According to the Clayton County Police Department records, following BROWN's

arrest, a search warrant was obtained for several phones seized from BROWN,

including a phone with phone number (312) 961-7232 ("Subject Phone 22").2

       13.    The FBI obtained a copy of the information contained on Subject

Phone 22, which     I have reviewed. Among other things, the web history for the phone

included over a dozen articles viewed from Faisal's "Authentic Tauheed" website. For

example, included in the web history for Subject Phone Z2were links to videos on the

"Authentic Tauheed" website with the following titles: "11 RIE: The FIVE PILLARS


the Treasury's Office of Foreign Assets Control ("OFAC") named Faisal a            Specially
Designated Global Terrorist, pursuant to Executive Order L3224, based on Faisal's provision
of support to ISIS. Seehttps:lltreasury.gov/press-center/press-releases/Pages/sm0231.aspx.
2 Law enforcement further confirmed BROWN as the user of Subject Phone 22 as follows,
among other ways:
a. According to Verizon records, Subject Phone 22 is subscribed to by Individual HP, who
is BROWN's wife. Subject Phone 22 was the phone number assigned to a cell phone seized
from BROST{ in connection with his 2016 arrest in Georgia (see infra paragraph 24).
b.      According to Goog1e subscriber records, a Gmail account ("Subject Account 7a") listed
Subject Phone 22 as the associated phone number. BROWN listed Subject Account 7a on a
credit card application with Capital One, along with his address on Linden Avenue in
Bellwood, Illinois. The same address on Linden Avenue in Bel}wood is listed on BROWN's
Illinois driver's license. I compared BROWN's driver's license photo with an individual I
observed while conducting surveillance of BROWN on multiple occasions and concluded they
are the same person.



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OF TAUBAH By Shaikh Faisal," which was viewed on Subject Phone 22 on May 19,

2076; and "Note: Manhood    in Islam-Shaikh Faisal," which was viewed on Subject
Phone 22 on each of May 27 and May 28,2016.

      14.    BROWN was indicted     in Clayton County,   Georgia on firearms-related

charges, to which he pled guilty and was sentenced       to a term of imprisonment.
BROWN was released on parole on or about June 13, 2018. BROWN's parole is

scheduled to terminate on or about June 73,2020.

      B.     BROWN Recruited AHK Members and Others to Support ISIS

      15.    As referenced above, BROWN is believed to use his position as the leader

of the AHK street gang to actively recruit and radicalize AHK members and others

to support ISIS.

      16.    For example, on or about January 15, 2019, CS-2 had a conversation via

phone with AHK street gang member Individual TC in person, which conversation
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was consensually audio and video recorded.s When discussing BROWN and other

AHK members, Individual TC tolda CS-2:

       The only two names that . . . Yaya and, and Big AHK IBROWNI can give to
       them people around them . . . it's two names . . Bro, I'm gonna tell you. Anwar
       Awlaki and Sheikh Faisal aI Jamaicaee . . . Like when I came home from the
       joint, they were sending each other videos . . . Iike shit you ain't supposed to
       look at. You feel me? They talking about, doing, they teaching the shorties
        [young gang members] that they could do shit that I never heard nobody in my
       life   say.5


3 CS-z was arrested by local police in late 2017 for narcotics offenses and agreed to cooperate
with law enforcement in the hope that CS-2's cooperation will be considered by the state in
its decision as to what charges, if any, to file against CS-2. CS-2 later agreed to cooperate
with the government in exchange for monetary compensation. Through in or around May
2019, CS-2 was paid approximately $22,000. Before his arrest in 2017, CS-2 sold distribution
quantities of heroin to a law enforcement source in two separate transactions. To date, CS-2
has not been charged for those transactions. In or around May 2019, CS-2 was informed of
the government's evidence against CS-2 for those two heroin transactions. The government
has not made any promises to CS-2 other than to take CS-2's cooperation into account when
deciding what, if any, charges to file against CS-2. According to a criminal history inquiry,
CS-2 has several prior narcotics-related arrests and no prior felony convictions. To date,
information provided by CS-2 has proven to be reliable and has been corroborated through
consensual recordings, controlled purchases of narcotics, seizures of narcotics and narcotics
paraphernalia, physical and electronic surveillance, and other information gathered in this
investigation.
a The investigation has included the recovery of posts, photos, chats, and videos from
publically accessible portions of social media accounts, and consensual audio and video
recordings made by confidential sources and an undercover law enforcement officer
(collectively, the "recorded conversations"). Some of the recorded conversations have been
summarized in this Affidavit. The language that is quoted from the recorded conversations
throughout this Affidavit is based upon a preliminary review of the recorded conversations,
and not on final transcripts of the recorded conversations. The times listed for the recorded
conversations are approximate. The summaries do not include all statements or topics
covered during the course of the recorded conversations. At various points in the affidavit I
have included in brackets my interpretation of words and phrases used in the recorded
conversations. My interpretations are based on information received from the confidential
sources, the contents and context ofthe recorded conversations, events occurring before and
after the conversations, my knowledge of the investigation as a whole, my experience and
training, and the experience and training of other law enforcement agents in this
investigation.
5Based on my training and experience in counterterrorism investigations, I know that Anwar
Al-Awlaki (a.k.a. Anwar Al Aulaqi) hereinafter, "Aw1aki") was a dual citizen of the United
States and the Republic of Yemen (hereinafter, "Yemen"). From in or around2004 to 20IL,
Awlaki was a resident of Yemen. Awlaki used the Internet to post sermons and blog entries
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         17.   BROWN also attempted to recruit and radicalize CS-3,6 examples of

which are as follows:                    t


               a.     On or about January         2t, 20L9, BROWN sent CS-S a link to
Faisal's lecture entitled, "Why We Hate the Shia."

               b.     On or about January 25, 2019, BROWN and CS-S engaged in an

in-person conversation, which conversation was consensually audio and video

recorded, and during which BROWN discussed topics such as Faisal's imprisonment

in Jamaica and individuals who BROWNbelieved were false Islamic scholars because

they lied about the religion, including BROWN stating as follows:

         My view point, you know what I'm saying ummm . .. Islamic State, sharia,
         jihad. You see what I'm saying. A lot of people say Al Sunnah al Jamat, but
         they don't talk about the sharia. They don't talk about jihad. They don't talk
         about hijrah. You see what I'm saying? They don't talk about, you know what
         I'm saying, the Islamic State.

         I'm fixing to make Hijrah over there. I'm not gonna teII nobody [unintelligible].
         Because sheikh tell ya though don't tell nobody. We plan on leaving. We plan
         on doing this.


in which he justified conducting violent jihad against the United States, United      States
citizens, and United States military personnel, and attempted to radicalize and recruit
followers to engage in violent jihad. On or about July 16, 2010, the United States Department
of Treasury announced that Awlaki had been specially designated as a global terrorist under
Executive Order 13224 as a "key leader" of AQAP and for "supporting acts of terrorism and
for acting for or on behalf of AQAP." On or about September 30, 2011, Awlaki was killed in
Yemen.
6 CS-S was a subject of an FBI investigation beginning in or around April 2013. However,
after a thorough investigation, the FBI discovered no wrongdoing by CS-3 and the
investigation was closed in or around September 2017. Instead, CS-3 began voluntarily
working with the FBI in or around July 2017 in exchange for monetary compensation, and
has been utilized in this investigation. Ab of in or around November 20L9, CS-3 had been
paid approximately $29,000. A criminal history inquiry revealed that CS-S has no prior
arrests or convictions. To date, information provided by CS-3 has proven to be reliable and
has been corroborated through consensual recordings, physical and electronic surveillance,
and other information gathered in this investigation.



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       18.    On or about July 12, 2019, CS-3 engaged in an in-person meeting with

BROWN, which meeting was consensually audio and video recorded. During this

meeting, BROWN told CS-S, "I had sent the Shaikh money. You feel me? You know

Sheikh supposed to be getting expedited [sic] here?" BROWN further told CS-3, "I

think he Iost it   so he's gonna be coming here soon [Faisal lost his appeal of the order

of extradition and   will be extradited to the United States from Jamaica soon]."

       C.     BROWN's Plans to Travel to Syria to Join ISIS

       19.    As discussed above, on or about January 25, 2019, during an in-person

meeting between CS-S and BROWN, which meeting was consensually audio recorded,

BROWN told CS-3 that he was planning to make hijrah. More specifically, BROWN

stated, "I'm fixing to make hijrah over there. f'm not gonna       tell   nobody. Because

Shaikh [Faisal] tell ya though, don't tell nobody. We IBROWN and his family] plan

on leaving. We plan on doing this." Notably, this statement about "hijrah" occurred

after BROWN discussed "Islamic State" in his conversation with CS-S.

       20.    On or about March 6, 20L9, during another in-person meeting between

CS-S and BROWN, which meeting \Mas consensually audio and video recorded, CS-3

asked BROWN for clarity regarding the process of making hijrah. BROWN informed

the source that "you gotta go where ahk [the ISIS brothers] and them at . . . and

establish, you know what I'm saying, the state [the Islamic State]. You gotta establish

the State . . . then you gotta have an army."

       21.    On or about March 8, 2019, during an in-person meeting between CS-3

and BROWN, which meeting was consensually audio and video recorded, BROWN




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told CS-3 that he and his family were "ready to go." BROWN further stated that he

knew he could not travel straight to Syria and that he believed that he would be

imprisoned       if   he tried. Based on my training and experience,   I believe BROWN
intended to use routes that would allow him to gain entry to Syria and ultimately

reach ISIS.

       22.        On or about   April 12,2019, during an in-person meeting between     CS-3

and BROWN, which meeting was consensually audio and video recorded, BROWN

said "If   I   go somewhere, Sheikh, out of the country, you know where   I'm going, right?

Mecca ... I'm going there first. Or I'm going where? Abu Jaffar!! You hear me?!" "Abu

Jaffar" is the online persona of CS-S's purported cousin (who unbeknownst to

BROWN was an FBI undercover employee (the "IJC"), as discussed in greater detail

below), whom CS-S and the UC represented to BROWN was a member of ISIS. Based

upon the investigation and his conversations with CS-3 and the UC,               I   believe

BROWN was declaring to CS-3 his intention to connect, in person, with "Abu Jaffar"

(the UC), who he believed was an actively fighting member of ISIS in Syria.

       D.         BROWN's Communications with CS-3 and the UC Regarding
                  ISIS
       23.        On or about February 8, 2019., CS-3 engaged in an in-person meeting

with BROWN, which meeting was consensually audio recorded. During this meeting,

Brown expressed an interest in obtaining women's Islamic clothing for the purpose of

commerce. CS-3 advised BROWN            that   CS-S had a contact overseas, purportedly a

cousin in Syria who sells such clothing.




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         24.   On or about February 15, 2019, CS-3 engaged in an in-person meeting

with BROWN, which meeting was consensually audio and video recorded. During this

meeting, BROWN asked CS-3 about CS-S's contact overseas. CS-3 confirmed to

BROWN that CS-3's contact was CS-3's cousin (the "IJC") and that he was fighting

with ISIS. BROWN responded, "Oh brother, I knew it!" and gave CS-3 a fist bump.

BROWN then told CS-3 that he had been in contact with Faisal on more than one

occasion and    that Faisal had warned BROWN to be careful. BROWN explained to

CS-3 that Faisal was locked up because he had been talking to an informant. BROWN

also referred to beheading as an appropriate consequence for people who talk poorly

about the prophet Mohammed, stating, "his head gotta go." Based on my training and

experience,    I know that beheading is a violent tactic that has been used by ISIS
members

         25.   During the same conversation on February 75, 2019, BROWN told CS-

3 about the necessity of owning a firearm and that one is "not a man" without a

firearm. According to the video recording, during the exchange, BROWN pointed his

Ieft index fi.nger solely upward and pulled his hand close to his head for the source to

see.

         26.   On or about February 22, 20L9, CS-3 engaged in an in-person meeting

with BROWN, which meeting was consensually audio recorded. During this meeting,

BROWN again brought up the topic of importing Islamic clothing. CS-S obtained

further details about what types of items Brown specifically wanted to obtain, and

CS-3 noted that    if BROWN bought them from the OCE he was supporting a good



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cause [meaning ISIS]. BROWN responded, "Inshaallah" [an Arabic term for "God

willing"], and further acknowledged with a smile while nodding affirmatively.

       27.     On or about March 8, 20L9, during an in-person meeting between CS-3

and BROWN, which meeting was consensually audio recorded, CS-3 told BROWN

that the UC had sent CS-S a video of ISIS fighters shooting AK-47 style assault rifles

in tactical clothing. BROWN responded, "I be Iooking at all that stuff . . . every day             .



. .Islamic ahh, it's called ahh   jihadiology... there's like ten minute videos. . . they

used to have videos like every day, like three, four videos."7

       28.    Later during the same conversation, BROWN showed CS-3 another ISIS

video, and told CS-3 that the video was approximately one hour long and showed ISIS

"tearing the government officials up" after grving them a chance to repent. Agents

reviewed the video referenced by BROWN to CS-B and observed that                   it    depicted

machine gun fi"re and contained frequent mention ofjihad. BROWN provided his own

narration of this video to CS-S, describing how the fighters in the video burned their

passports to show that they were not going back to their countries of origin. Based on

BROWN's narration, agents inferred that BROWN was expressing to CS-3 that jihad

overseas consisted of fighting with      ISIS. More specifically, BROWN told             CS-3,   "it

Uihadl cannot be done like     it is in Syria. In the US [United States], jihad is done by
spreading the word of Islam." Based on the context of the conversation,             it   appears




7 Based on my training and experience, I know that the website "www.jihadology.net" is a
website created by Aaron Zehn, an expert on global jihadism at The Washington Institute.
Zelir:, archived all of the propaganda publicly available that was published by jihadist groups,
including al-Qa'ida and ISIS.



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that BROWN meant "spreading the word of Islam" to mean radicalizing                 and

recruiting others.

         29.   Based upon the investigation and information from confidential sources,

it   appears that BROWN regutarly watched violent ISIS videos, and shared the ISIS

videos and philosophy with AHK members, CS-3, and others, in an effort to recruit

and radicalize them. As a result,   it   appears that BROWN viewed his work sharing

ISIS videos and philosophy with other gang members and CS-S as engaging in jihad

while inside the United States.

        30.    On or about March t2,20L9, CS-3 engaged in an in-person meeting      with

BROWN, which meeting was audio and video recorded. BROWN initiated                     a

conversation with CS-3 regarding the UC. CS-3 told BROWN that the UC's son had

died as a martyr in Syria. BROWN stated that the UC should be happy, which

appears to mean that BROWN believed the UC should be proud that his son died as

a martyr. BROWN also told CS-3 that he used the "Authentic Tauheed" website,

among other websites, to watch videos about ISIS.

        31.    On or about April 3, 2019, CS-3 engaged in an in-person meeting with

BROWN, which meeting was audio recorded. During this meeting, CS-S gave

BROWN nine women's Islamic robes, which CS-3 represented to BROWN were

provided by the UC as requested by BROWN on or about February 22,zOLg       (see   supra

paragraph 26). According to CS-3, BROWN appeared excited when he inspected the

robes, stating that they were exactly what he was looking for. CS-S then showed

BROWN videos from the UC,         in which the UC was purporting to be engaged in



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fighting with ISIS. BROWN praised God many times while watching the videos and

expressed excitement. BROWN downloaded Messaging Application 1 to one of his

phones (not Subject Phone 22) and sent a message and greeting to the UC. BROWN

used the username "Farooq Al Amerki."

      32.    Approximately three days later, on or about April 6, 20L9, the UC and

BROWN engaged in a conversation over MessagingApplication         1,   which conversation

was consensually recorded. Referencing the robes that the UC had provided to

BROWN as a gesture of good will, BROWN stated:

      In sha Allah . . . all is well shukran [thank you] for the abayas [robes] . . .
      Aamen for the dua and May Allah straighten out your affairs and the brothers
      around u        It's such a blessing to hear from the brother who are only
      experiencing life as a Muslim . . . I'm jealous in a good way at your actions . . .
      They surely need to be acknowledged, praised and worship.

      33.    Based on the context of this statement, BROWN's comments to the UC

appear to indicate that BROWN is jealous of the front-line ISIS fighters and believed

them to be the only individuals who were experiencing life as a Muslim.

      34.    On or about   April   10, 2019, during an in-person meeting between CS-B

and BROWN, which meeting was consensually audio and video recorded, CS-3

showed BROWN another video of the UC purportedly fighting for ISIS              in   Syria.

According to CS-3, BROWN had watery eyes while viewing the video and stated that

the UC will be rewarded in heaven, which CS-3 understood to mean that BROWN

was praising what BROWN believed was the UC's work fighting for ISIS.

      35.    On or about   April   71, 20t9, the UC exchanged messages     with BROWN

using Messaging Application 1, which messages were consensually recorded. During




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the conversation, they discussed a Faisal lecture and an article written by an
individual within the Islamic State who had been critical of Al-Baghdadi. The UC

refuted the article and praised Faisal's teaching ability stating that   it reminded the
UC ofAwlaki. BROWN responded, "Yes both are my shaikh," indicating that BROWN

viewed both Faisal and Awlaki as his religious mentors.

      36.    On or about April 30, 2019, the UC exchanged messages with BROWN

using Messaging Application 1, which messages were consensually recorded. During

the conversation BROWN and the UC discussed a video which had been released by

ISIS leader Abu Bakr Al-Baghdadi the day before. BROWN praised the commentary

and provided a smiley face emoji as part of his response.

      37.    On or about JuLy 26,20L9, CS-3 had an in-person meetingwith BROWN.

During this meeting, BROWN told CS-S that he supported following Sharia law and

not democracy.

      E. BROWN Attempted to Provide Financial Support to ISIS
      38. On or about May 13, 2019, CS-3 had an in-person meeting                  with

BROWN, which meeting was consensually audio and video recorded. During the

meeting, which occurred while BROWN and CS-S were driving in a vehicle together

after eating lunch at a loca1 restaurant, BROWN spontaneously told the source that

he "gonna have something [money]" for the UC.

      39. On or about May 23, 20L9, CS-3 had an in-person meeting                  with

BROWN, which meeting was consensually audio recorded. During this meeting,

BROWN again brought up the UC to CS-3 and asked CS-3, "When the last time you




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heard from, from the brother? Said . . . said he, said he needs some faloose [an Arabic

word for moneyl didn't he?" CS-3 told BROWN that CS-3 had already provided

"something [money]" to the UC. BROWN asked CS-3 "You send something?" and CS-

3 responded, "He sent me a contact, and he said erase      it." BROWN then told CS*3,
"Tell him [the UC] he need" another one . . He need" another one I got something

[money]. Got something for him [the UC]." Based on BROWN's conversations with

CS-S, I believe   that during this conversation, BROWN was telling CS-3 that BROWN

intended to send money to the UC, whom BROWN believed to be an active ISIS

member located overseas in Syria.

       40.    On or about August 9, 2019, CS-3 had an in-person meeting with

BROWN, which meeting was consensually audio and video recorded. During this

meeting, BROWN mentioned to CS-3 that the UC had reached out and asked for

money. BROWN wanted to help the UC, but had not been able to find the right

moment. He further stated that he could not send money the way the UC requested

because he could get in trouble for "aiding and evading."s BROWN believed they fiaw

enforcement]" were monitoring his financial activity. BROWN then suggested that

he would give CS-3 money to give to the UC. When CS-S indicated concern that CS-3

may get in trouble for sending money to the UC, BROWN sought to alleviate CS-3's

concerns and stated    that CS-3 should not be alarmed because CS-3 had family in


8 Based on my   training and experience, and BROWN's extensive criminal history, deep
suspicion of law enforcement, and use of counter-surveillance during the course of this
investigation, I beiieve that when BROWN said "aiding and evading," he meant that he knew
if he provided financial support to the UC, who he believed was a member of ISIS, he would
be liable for aiding and abetting ISIS.



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Syria so it would not be suspicious. BROWN admitted that he had previously sent

money to "brothers behind the wall." BROWN then instructed CS-3 to tell BROWN

whatever amount of money CS-3 wanted from BROWN and BROWN would get the

money to CS-S.

       4I.   On or about August 14, 2019, CS-S had an in-person meeting with

BROWN, which meeting was consensually audio and video recorded. During this

meeting, the following occurred:

             a.      CS-3 stated, "I'm working on something for him [the UC],        if you
wanna, you said last time, let me know." BROWN responded, "I got something now,

whenever." CS-3 confirmed, "Abu Jaffar [the UC], yeah?" BROWN responded, "Yeah,

I got something! I   got $2,500 right now. Inshaallah. Whenever, akh. That what my

money go to. . ." CS-3 asked, "So you want me to send      it with my stuffl"   BROWN

confirmed, "Yeah." CS-S asked again, "You sure?" and BROWN said, "I'm positive."

             b.      CS-3 then said,   "I don't want to be pushy. I hate to be pushy."
BROWN responded, "You ain't even gotta ask me them type of questions. Just be like,

'I'm finna send something,' and then I just, you know. Ain't even gotta. There's         a

certain way you talk. You see what I'm saying? IBROWN will provide money for the

CS-3 to send to the UC and ISIS without CS-S having to ask       with specifics]."   CS-3

stated, "Let me know when." BROWN responded,           "I got something. I   got t}re 25

[$2,500]."

             c.      CS-3 explained, "They're going through some hard times and

stuff." BROWN asked, "But you can't send it like all at once can you?" CS-S responded,




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"No probably [unintelligible] $500, more than that             it   triggers [Iaw enforcement

scrutiny]. I had,   I   had sent some earlier, but   I   mean he, they're pushy and       I   don't

blame them. You know what I mean? I don't blame them because, it is what              it is [the
UC and his fellow ISIS members are pushy in asking for financial support because

they are in need of help]."

              d.        BROWN later asked, "So what you want me to give you at, at

fi.rst? $1,000? How you wanna do it?" CS-S asked, "You wanna do            it hundred, $500 at
a time?" BROWN confirmed, "$500? Ok. I'm ready. Whichever way you gonna do it.

You gonna send the whole 25 [$2,500] I'Il give you the whole 25 [$2,500]." CS-3

rejected that offer of $2,500 stating, "No, no    I can't send the whole cause it triggers
[aw enforcement scrutiny]."
              e.        Later in the conversation, BROWN stated, "then whatever the

remainder I'm gonna give to you." CS-3 asked, "You don't have anybody that could

do   it for you too?" BROWN    responded, "To send it? . ..   I could have somebody but it's
just the whole point. . . I don't wanna put nobody in that type of business [BROWN

does not want his people to take the     risk]. . . I got plenty of people, akh ftrother]. I

got all of Bellwood that     I could sent to go do it. It just the fact that you know they
would be questioned about it."

              f.        BROWN further stated, "Like       I told you it's already like,   cause   I
done told them that them people flaw enforcement] watching me." CS-3 asked, "Why

do you   think that?" BROWN responded, ". . .I had caught umm a pistol case. A gun

charge. That's probably why you ain't seen me like when you first start coming around




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over there, cause       I was       locked up   in Georgia. When I was locked up in Georgia, ya

know AHK and them you know we make a transition from Muslim, gang banger to

Muslim      so now   they flaw enforcement] tryna say that we, we, we, we are gang bangers

still.   . . they said I'm the leader of umm        AHK city. . ." CS-3 asked, "What's AHK city?"

BROWN responded, "That's what they flaw enforcement] call Bellwood."

                  g.         BROWN later stated, "Like I just say, you ain't even gotta teII me

or say nothing about no name or none of that. Just be like, 'I'm finna to send money,

you know what I'm saying, to charity.' We just talk like that. We ain't gotta talk like.

Just, just be safe, ahk [brother]. You know what I'm saying? But yeah, I got somebody

to send. Just like       I used to send money to the, to the Shaikh. I had my niece go
[unintelligible]. You         see   what I'm saying? But   now    ."

                 h.          Later in the conversation, BROWN instructed CS-3, "Don't let

nobody else know what's going on [referring to sending money to the UC for ISIS].

Not even nobody but me and you, akh ftrother]. Even though the people that                    be

around me I try and be careful with who I be with, careful with who I bring around,

where     I be at. . . . I   done been locked up.     I done been through. I   done have murders

and everything, akh, you see what I'm saying. So, I ain't just [unintelligible] I

wouldn't be here right now if I would've told on myself."e




eAccording to a criminal history report, BROWN was previously convicted of attempted
murder.



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       42.    On or about August 76, 20L9, CS-3 had an in-person meeting with

BROWN, which meeting was consensually audio and video recorded. During the

meeting, the following occurred:

              a.    CS-S   told BROWN that CS-3 intended to send money to "Abu

Jaffar" (the UC) soon. More specifically, CS-S stated, "I'm gonna go now and send him

money." BROWN responded, "You ready?" CS-3 stated, "Yeah. I'm gonna send him

some today." BROWN responded, "Oh ok." CS-3 observed BROWN look down and

count money under the table. BROWN then stated, "WeIl you can put this one on me."

CS-S reminded BROWN,       'Just give me five hundred. No more. Cause I got five [$5001.

Want me to tell him? Or . . .no? Tell Abu Jaffar [the UC] it's from you or no?"

              b.    BROWN responded, "AIIah knows," as he pointed his middle

finger up in the air and smiled, before handing CS-3 $500 in $20 bills across the table,

which CS-3 understood was intended for CS-3 to send to the UC in support of ISIS.

BROWN further stated, "That's the only one that needs to know [meaning AIIah] as

long as they get it. That's   it. . . . He'll find out on, on that day." CS-3 confirmed that
BROWN did not want CS-3 to tell the UC that the financial support was from

BROWN by asking, "WeII          I   mean   I   shouldn't tell him, it's from you?" BROWN

responded, "No, Sheikh." CS-3 stated, "IJp to you, it's your choice. . . . I know he asked

you,   so    ." BROWN confirmed, "Oh yeah. You ain't gotta say my name."               CS-3

confirmed, "Ok."

       43.    The following is a still image from the video-recording made of CS-3's

meeting with BROWN on or about August 16, 2019,                in which BROWN can be



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observed holding the $500 in cash and pointing his finger up in the air, while stating

that "Allah Knows.":




      44.    The next day, on or about August 17,2019, agents accompanied CS-3 to

a local Walmart store to send the money via MoneyGram. CS-3 sent a total of $1,000

via MoneyGram to a government-controlled account, which appeared to go to an

account in Iraq, in order to represent $500 from BROWN and $500 from CS-S. The

$500 attrihuted to CS-3 was provided by the government. CS-3 sent the $1,000 via

MoneyGram to a government-controlled account in order to ensure CS-S had proof

that CS-3 sent the $500 provided by BROWN to the UC if BROWN inquired and
asked for such proof.

      F.     BROWN's Second Attempt to Provide Financial Support to ISIS

      45.    On or about September 6, 2019, CS-3 had an in-person meeting with

BROWN, which meeting was consensually audio and video recorded". During the




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meeting, CS-3 showed BROWN a picture that purported to be from "Abu Jaffar" (the

UC), and stated", "Look how happy this brother [referring to a purported ISIS fighter

in the picture]. He got dressed up now. He's got all his gear on him now . . . because

of last time [referring to the last time BROWN gave CS-3 money for "Abu Jaffar"l."

BROWN responded, "Yeah? Of last time? Oh ok ok ok. For sure." CS-3 stated, "And

I think the the brother [purported ISIS fighter] had a feeling,             he's like teII him to

thank you . . . He sent you a verse." BROWN read the purported verse of Islamic

writing sent by "Abu Jaffar," and then stated, "I mean       . . . for   sure. That's what's up,"

while giggling.

         46.   As the conversation continued, CS-3 told BROWN,               "I   mean   I   go every

week [sending money to'Abu Jaffar']. I don't want to push you. Whatever." BROWN

responded, "I'm ready.     I give you all tens [ten dollar bills]."      BROWN began to take

out money to give to CS-3, but CS-S asked for BROWN to wait because he was driving.

         47.   Later in the conversation, CS-S clarified that the person in the photo

was "one of the brother that got the stuff. That he's dressed up because of what we

sent [money BROWN gave to CS-S to send to the purported ISIS fighter in August

20191. That's what he said. You know what          I   mean?" BROWN responded, "That's

great.   It don't get no better than that, Ahk [brother]."
         48.   After arriving in Bellwood, Illinois, BROWN exited CS-S's car and left

money behind in the vehicle. CS*S asked BROWN "Is this for ahh the brothers [ISIS

fighters]?" BROWN responded, "That's for you. Yeah." CS-S counted the money in

front of BROWN, which totaled $500. After driving away, CS-3 met with law



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enforcement at a pre-determined location and turned over the money BROWN had

given to CS-S. Law enforcement counted the funds, which totaled $500.

        49.   That same day, on or about September 6, 20L9, an agent accompanied

CS-S   to a local CVS store to send the money via MoneyGram. CS-3 sent a total of

$1,000 via MoneyGram to a government-controlled account, which appeared to go to

an account in Iraq, in order to represent $500 from BROWN and $500 from CS-3. The

$500 attributed to CS-3 was provided by the government. CS-3 sent the $1,000 via

MoneyGram to a government-controlled account in order to ensure CS-3 had proof

that   CS-S sent the $500 provided by BROWN               to the UC if BROWN inquired and

asked for such proof.

        G.    BROWNPs     Third Attempt to Provide Financial Support to ISIS
        50.   On or about October 4, 2OLg, CS-3 had an in-person meeting with

BROWN, which meeting was consensually audio and video recorded. During the

meeting, CS-S told BROWN, "Oh I'm doing some donation today to the brothers

[purported ISIS fighters]. You told me to tell you so." BROWN responded, "Ok. I got

some   ahh. I got something [money] on me. It's in the ahh . . . it's in the car. I only

got like some tens on me right now but     I   got   it   [more money] in the   car. I'm finna
come to your shop [where CS-S works] anyway." BROWN then pulled out money and

counted   it in front of CS-3, but put the money     back into his pocket.

        51.   Later that day, BROWN met with CS-3 at his place of business, which

meeting was consensually audio and vid.eo recorded. Prior to departing, BROWN




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pulled out cash and began to count it in front of CS-3, as seen in this still image from

the video recording:




      52.      BROWN then handed the bills to CS-3, who counted          it.    CS-3 asked

BROWN, "Why did you give me 26?" BROWN responded, "Oh it's 26?            It   costs to send

too [referring to giving CS-S extra money to cover the cost of sending the money

overseas] don't   it?"   CS-S then asked BROWN, "This is for ahh . . . the sake of    Allah

[unintelligible]?" BROWN responded, 'Yeah." CS-3 stated, "You gotta say that

because   it might, it might, it   may seem like, you know, you're paying me for the cars

[referring to other business between CS-S and BROWN]." BROWN, while laughing

and shaking his head from side to side, responded, "No, that's not for the cars.         I'll
pay you probably like next week for the cars." BROWN then left CS-3's place of

business, after which CS-3 met with law enforcement at a pre-determined location

and turned over the money BROWN had given to CS-3. Law enforcement counted

the funds, which totaled $500.


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      53.    That same day, on or about October 4, 2AL9, agents accompanied CS-3

to a local CVS store to send the money via MoneyGram. CS-3 sent a total of $1,000

via MoneyGram to a government-controlled. account, which appeared to go to an

account in Iraq, in order to represent $500 from BROWN and $500 from CS-S. The

$500 attributed to CS-S was provided by the government. CS-3 sent the $1,000 via

MoneyGram to a government-controlled account in order to ensure CS-3 had proof

that CS-3 sent the $500 provided by BROWN to the UC if BROWN inquired and

asked for such proof.




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uI.     CONCLUSION

        54.   Based on the foregoing, there is probable cause to believe   that on or

 about September 6,2019, JASON BROWN, also known as "Abdul Ja'Me," knowingly

 attempted to provide material support and resources, namely $500, to a foreign

 terrorist organtzation, namely the Islamic State of Iraq and Syria, knowing that the

 organization was    a   designated foreign terrorist organization, and     that   the

 organization had engaged in and was engaging in terrorist activity and terrorism, in

 violation of Titte 18, United States Code, Sections 23398 and 2.




                                        FURTHER AFFIA


                                        NATHAN S.'SC ERER, Special Agent
                                        Federal Bureau of Investigation


                                   before me on November 13, 2019.


 SUNIL
          tates Magistrate Judge




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